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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ALLINA HEALTH SERVICES, et al.,     )
                                    )
              Plaintiffs,           )
                                    )                 Case No. 14-cv-1415 (TJK)
       v.                           )
                                    )
ALEX M. AZAR II, Secretary          )
of Health and Human Services,       )
                                    )
              Defendant.            )
____________________________________)

             DEFENDANT’S NOTICE OF DEVELOPMENTS IN SIMILAR CASES

        Defendant Alex M. Azar II, Secretary of Health and Human Services (the “Secretary”)

respectfully submits this Notice to apprise the Court of developments in other cases that may be

relevant to this case.

        1.      On July 31, 2019, the Secretary moved to consolidate 88 similarly-situated cases

that each present, as a common and potentially dispositive issue of law, the question recently

addressed by the Supreme Court in this case. See Azar v. Allina Health Servs., 139 S. Ct. 1804

(2019). A copy of the Secretary’s Motion to Consolidate, which was filed in Albert Einstein

Healthcare Network v. Azar, No. 17-1134 (ABJ), is attached as Exhibit A to this Notice and was

served upon counsel for Plaintiffs by email on July 31, 2019.       Oppositions to the Secretary’s

Motion must be filed by August 14, 2019.

        2.      The instant case (“Allina II”) was not included in the Secretary’s Motion to

Consolidate. Another case currently pending before this Court involving the same hospitals that

are plaintiffs in this action, Allina Health Sys. v. Burwell, No. 16-cv-150 (RC) (“Allina III”), also

was not included. The decision was made to exclude those cases from the Motion to Consolidate

after determining that, unlike the other 88 cases, which have been stayed since their inception and

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many of which raise (or may raise) ancillary jurisdictional issues, the claims in Allina II and Allina

III have already undergone a full round of litigation on an administrative record. In addition, the

Allina plaintiffs opposed consolidation of their cases, and the Secretary believed—based on the

foregoing—that a reasonable basis existed to distinguish Allina II and Allina III from the others.

         3.      On August 1, 2019, however, the Court in Allina III issued the following Minute

Order:

         The Court has become aware of the government’s recent motion to consolidate
         before Judge Amy Berman Jackson Medicare cases impacted by the Supreme
         Court's recent decision in Allina Health Services v. Price (“Allina”). The case
         before Judge Jackson, Albert Einstein v. Azar, No. 17-1134 (“Einstein”), is not the
         earliest-filed case potentially impacted by Allina. The earliest-filed case, No. 14-
         1415, is before Judge Timothy Kelly and the next earliest case is this one. It is
         hereby ORDERED that the government shall, on or before August 8, 2019, submit
         a memorandum that explains why it does not seek to consolidate the Medicare cases
         impacted by Allina listed in the Einstein case into either (1) the case before this
         Court, Allina Health System v. Burwell, No. 16-150, or (2) the case before Judge
         Kelly, No. 14-1415. SO ORDERED. Signed by Judge Rudolph Contreras on
         August 1, 2019. (lcrc3)

Minute Order, Allina III, Case No. 16-cv-150, Aug. 1, 2019.

         4.      On August 2, 2019, the Secretary filed a Response to Judge Contreras’s Minute

Order, which is attached hereto as Exhibit B. As the Secretary explained in that Response, he does

not object to including Allina III and/or this case in the consolidated actions, and—if the Court

determines that that is an appropriate outcome—to transferring the Motion to Consolidate to the

docket for either this case or Allina III as earlier-filed actions.

    August 5, 2019                                  Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    MICHELLE R. BENNETT
                                                    Assistant Director, Federal Programs Branch




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